
684 So.2d 932 (1996)
HASPEL &amp; DAVIS MILLING &amp; PLANTING CO. LTD., et al.
v.
BOARD OF LEVEE COMMISSIONERS OF THE ORLEANS LEVEE DISTRICT.
Stanley RILEY, Individually and as Administrator of the Estate of John Riley and Dora Rogers Riley
v.
Jay Hue RILEY, Johnno Riley, Nelson Riley, Jr., Raymond B. Riley, Vernon D. Riley, Winston Riley, and Frederick Seemann, Special Master.
Anthony J. VOGT, et al.
v.
BOARD OF LEVEE COMMISSIONERS OF THE ORLEANS LEVEE DISTRICT and Bass Enterprises Production Company.
Allen M. EDGECOMBE, et al.
v.
BOARD OF LEVEE COMMISSIONERS OF THE ORLEANS LEVEE DISTRICT and Bass Enterprises Production Company.
No. 96-C-2430.
Supreme Court of Louisiana.
December 6, 1996.
Denied.
CALOGERO, C.J., not on panel.
MARCUS, KIMBALL and VICTORY, JJ., would grant the writ.
